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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
         DEFENDANT.                        )
__________________________________________)

                 OBJECTIONS
———————————————————————————————————————


        For the purpose of completing the record, the Defense hereby notes its objection to the

Order of the Court in ECF No. 175, solely to the extent that the order for dismissal is without

prejudice. The Defense also notes its objection to the corresponding opinion, ECF No. 176, in its

entirety.



                                             Respectfully submitted,

                                             By Counsel:

                                                    /s/
                                             Marina Medvin, Esq.
                                             Counsel for Defendant
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on February 1, 2025, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.
                                                      /s/
                                              Marina Medvin, Esq.




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